 Case 2:21-cv-00697-SVW-KES Document 34 Filed 04/30/21 Page 1 of 1 Page ID #:218

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:21-cv-00697-SVW-KES                                          Date      April 30, 2021
 Title             Jeffrey E Brandlin v. A Better Way LLC et al




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                                   N/A
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                     N/A
 Proceedings:                 IN CHAMBERS ORDER MOVING CASE TO INACTIVE CALENDAR
                              PENDING SETTLEMENT


        The Court, having received the Notice of Settlement, filed April 29, 2021, vacates all previously
set dates.

        The Court moves the matter to the inactive calendar pending finalization of settlement. The
parties shall proceed with the settlement as outlined in the notice. Should the settlement not be finalized
within the designated time, the parties shall notify the Court, in writing, and request that the matter be
restored to the active calendar.




                                                                                                    :
                                                               Initials of Preparer              PMC
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                    Page 1 of 1
